                                     Exhibit 2

                  Notice of Motion and Opportunity to Object




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                 UNITED STATES BANKRUPTCY COURT
                  EASTERN DISTRICT OF MICHIGAN

                                                )
In re                                           ) Chapter 9
                                                )
CITY OF DETROIT, MICHIGAN,                      ) Case No. 13-53846
                                                )
                        Debtor.                 ) Hon. Steven W. Rhodes
                                                )

   NOTICE OF MOTION IN LIMINE BARRING THE CITY AND PLAN
  SUPPORTERS FROM INTRODUCING EVIDENCE REGARDING THE
       POTENTIAL PERSONAL HARDSHIP OF PENSIONERS

      PLEASE TAKE NOTICE that on August 22, 2014 Syncora Capital
Assurance Inc. and Syncora Guarantee Inc. (“Syncora”) filed the Motion in Limine
Barring the City and Plan Supporters from Introducing Evidence Regarding the
Potential Personal Hardship of Pensioners (the “Motion”) in the United States
Bankruptcy Court for the Eastern District of Michigan (the “Bankruptcy Court”)
seeking entry of an order to bar the City from introducing evidence regarding the
potential hardship of pensioners.

      PLEASE TAKE FURTHER NOTICE that your rights may be affected
by the relief sought in the Motion. You should read these papers carefully
and discuss them with your attorney, if you have one. If you do not have an
attorney, you may wish to consult one.
      PLEASE TAKE FURTHER NOTICE that if you do not want the
Bankruptcy Court to grant the Syncora’s Motion or you want the Bankruptcy Court
to consider your views on the Motion, by September 5, 2014, you or your attorney
must:




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File with the Court a written response to the Motion explaining your position with
      the Bankruptcy Court electronically through the Bankruptcy Court’s
      electronic case filing system in accordance with the Local Rules of the
      Bankruptcy Court or by mailing any objection or response to:1

                                     United States Bankruptcy Court
                                      Theodore Levin Courthouse
                                       231 West Lafayette Street
                                           Detroit, MI 48226

                You must also serve a copy of any objection or response upon:

                                       James H.M. Sprayregen, P.C.
                                           Ryan Blaine Bennett
                                            Stephen C. Hackney
                                        KIRKLAND & ELLIS LLP
                                             300 North LaSalle
                                          Chicago, Illinois 60654
                                        Telephone: (312) 862-2000
                                        Facsimile: (312) 862-2200
                                                       - and -
                                            Stephen M. Gross
                                             David A. Agay
                                             Joshua Gadharf
                                      MCDONALD HOPKINS PLC
                                        39533 Woodward Avenue
                                       Bloomfield Hills, MI 48304
                                       Telephone: (248) 646-5070
                                       Facsimile: (248) 646-5075

If an objection or response is timely filed and served, the clerk will schedule a
      hearing on the Motion and you will be served with a notice of the date, time
      and location of the hearing.

      PLEASE TAKE FURTHER NOTICE that if you or your attorney do
not take these steps, the court may decide that you do not oppose the relief
sought in the Motion and may enter an order granting such relief.

1
      A response must comply with F. R. Civ. P. 8(b), (c) and (e).


                                                           2
KE 33051859.1
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Dated: August 22, 2014                 Respectfully submitted,

                                       KIRKLAND & ELLIS LLP

                                       By: /s/ Stephen C. Hackney_________
                                       James H.M. Sprayregen, P.C.
                                       Ryan Blaine Bennett
                                       Stephen C. Hackney
                                       KIRKLAND & ELLIS LLP
                                       300 North LaSalle
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                                       Bloomfield Hills, MI 48304
                                       Telephone: (248) 646-5070
                                       Facsimile: (248) 646-5075

                                       Attorneys for Syncora Guarantee Inc. and
                                       Syncora Capital Assurance Inc.




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